             Case 3:06-cv-00326-FLW-JJH Document 9 Filed 07/24/06 Page 1 of 1 PageID: 112
                           UNITED STATES DISTRICT COURT
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                                                                                                             REPLY TO: TRENTON

            Philip L. Schwartz, Esq.
            2000 Glades Road
            Boca Raton, Florida 33431



                                  RE:     CELLCO PARTNERSHIPS, etc.,
                                          vs. DATA FIND SOLUTIONS, INC,., et al.,
                                          CIVIL 06-326 (FLW)

            Dear Counsel:

                  Returned herewith at the direction of the Court is your proposed Motion to withdraw as
            counsel for the defendants, First Soource Information Specialists, Inc., Stephen Schwartz, and
            Kenneth Gorman.

                    Pursuant to Local Civil Rules 11.1 and 101.1(c), pleadings must be signed by member of the
            bar of this court. This Office has no record of your admittance to the Bar of this Court. (Note:
            Admission pro hac vice doesn't allow said counsel to file papers, nor have you been admitted
            pro hac vice.)

                  In fact, the Record does not indicate you or any other attorney has filed a Notice of
            Appearance or an Answer on behalf of the aforementioned defendants, nor any other defendant.

                           If you believe you are admitted to the Bar of this Court, please provide proof of admittance.



                                                                                               Very truly yours,

                                                                                               William T. Walsh, Clerk

                                                                                    By
                                                                                               s/Michael D. Shanklin, Supervisor
